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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )           8:07CR30
                     Plaintiff,                  )
                                                 )
       vs.                                       )             ORDER
                                                 )
THIRUGNANAM RAMANATHAN,                          )
                                                 )
                     Defendant.                  )


       This matter is before the court on the motion of defendant Thirugnanam
Ramanathan (Ramanathan) to review detention (Filing No. 50). Previously the court denied
Ramanathan’s motion to review detention.
       Ramanathan now proposes to reside with a naturalized citizen who resides in
Omaha and be subject to electronic monitoring, and to have Ramanathan’s immediate
family in Thailand join him in Omaha.
       This case is being delayed pending the receipt of evidence from various international
MLAT requests. Ramanathan was extradited to the United States from Hong Kong where
he was apprehended.
       The new proposal by Ramanathan does not ameliorate the court’s prior finding that
Ramanathan is a flight risk and that he could easily abscond from the United States where
he was involuntarily brought to from Hong Kong.
       The court concurs with the government (Filing No. 52) in that Ramanathan’s new
proposal does not mitigate the risk of flight. Accordingly, Ramanathan’s motion to review
detention (Filing No. 50) is denied.
       IT IS SO ORDERED.
       DATED this 9th day of October, 2007.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge
